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                                                                       Friday, 10 August, 2018 05:04:46 PM
                                                                               Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

EQUAL EMPLOYMENT OPPORTUNITY             )
COMMISSION,                              )
                                         )
                   Plaintiff,            )                   CIVIL ACTION NO.
                                         )
URBANA SCHOOL DISTRICT NO. 116           )                   COMPLAINT
                                         )
            v.                           )                   JURY TRIAL DEMAND
                                         )
                   Defendant             )
                                         )
            and                          )
                                         )
URBANA EDUCATION ASSOCIATION,            )
IEA-NEA                                  )
                                         )
                  Rule 19 Defendant      )
                                         )
________________________________________ )


                                 NATURE OF THE ACTION

       This is an action under the Age Discrimination in Employment Act to correct unlawful

employment practices on the basis of age and to provide appropriate relief to Charging Party

Charles Koplinski and a class of teachers over the age of 45. As alleged with greater

particularity in paragraphs 8-17 below, Defendant, the Urbana School District No. 116,

discriminated against Koplinski and a class of teachers over the age of 45 with respect to their

compensation because of their age.

                                JURISDICTION AND VENUE

       1.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331, 1337,

1343 and 1345. This action is authorized and instituted pursuant to Section 7(b) of the Age

Discrimination in Employment Act of 1967, as amended, 29 U.S.C. § 626(b) (the “ADEA”),



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which incorporates by reference Sections 16(c) and Section 17 of the Fair Labor Standards Act

of 1938 (the “FLSA”), as amended, 29 U.S.C. §§ 216(c) and 217.

       2.      The employment practices alleged to be unlawful were and are now being

committed within the jurisdiction of the United States District Court for the Central District of

Illinois, Urbana Division.

                                            PARTIES

       3.      Plaintiff, the Equal Employment Opportunity Commission (the “Commission”), is

the agency of the United States of America charged with the administration, interpretation and

enforcement of the ADEA and is expressly authorized to bring this action by Section 7(b) of the

ADEA, 29 U.S.C. § 626(b), as amended by Section 2 of Reorganization Plan No. 1 of 1978, 92

Stat. 3781, and by Public Law 98-532 (1984), 98 Stat. 2705.

       4.      At all relevant times, Defendant, Urbana School District No. 116 (“Urbana School

District”), has continuously been a local government agency of the City of Urbana.

       5.      At all relevant times, Defendant Urbana School District has continuously been an

employer within the meaning of Section 11(b) of the ADEA, 29 U.S.C. § 630(b).

       6.      Defendant, the Urbana Education Association, IEA-NEA (“the Union”), is a party

to a collective bargaining agreement with the Defendant Urbana School District and is therefore

named as a party pursuant to Rule 19(a) of the Federal Rules of Civil Procedure in that, in its

absence, complete relief cannot be accorded among those already parties.

                                        CONCILIATION

       7.      Prior to institution of this lawsuit, the Commission’s representatives attempted to

eliminate the unlawful employment practices alleged below and to effect voluntary compliance




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with the ADEA through informal methods of conciliation, conference and persuasion within the

meaning of Section 7(b) of the ADEA, 29 U.S.C. § 626(b).

                                   STATEMENT OF CLAIMS

       8.      Since at least 2012, Defendant Urbana School District has engaged in unlawful

employment practices in violation of Section 4 of the ADEA, 29 U.S.C. § 623(a)(1) 15, by

discriminating against Charles Koplinski and a class of teachers over the age of 45 with respect

to their compensation, because of their age.

       9.      More specifically, Urbana School District has limited the salary increases of

Koplinski and other teachers over the age of 45 pursuant to Article 21, Section 12 of a collective

bargaining agreement (CBA) between the Urbana School District and the Union, which limits

earnings increases of teachers who are less than ten years from retirement eligibility to no more

than six percent of their prior year’s total reportable creditable earnings. Article 21, Section 12

provides:

       Notwithstanding any of the other provisions of this agreement, no teacher who is
       less than ten (10) years from retirement eligibility may receive an overall increase
       in total reportable creditable earnings in excess of six percent (6%) of the
       previous year’s total reportable creditable earnings, unless the payment causing
       the teach to exceed the six percent (6%) salary threshold is specifically exempt by
       statement or regulation from the payment of any penalty of other monies
       constituting a surcharge to the Teachers’ Retirement System. Should the Illinois
       General Assembly or the Teachers’ Retirement System impose a salary threshold
       greater or lesser than the six percent (6%) threshold thereby causing the payment
       of any penalty or other monies constituting a surcharge to TRS, then this
       agreement shall automatically incorporate this new threshold upon its effective
       date.

       Retirement eligibility is based on a combination of age and years of service. Article 21,

Section 12 violates the ADEA by limiting pay increases because of age.

       10.     Koplinski was born in 1965. He was hired in 1991 at the Urbana Middle School,

where he teaches eighth grade language arts. In 2008, Koplinski obtained his Master’s degree.



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       11.     During the 2014-15 school year, Koplinski was at MA+30, Step 24 on the salary

schedule applicable to Urbana School District teachers.

       12.     Prior to the 2015-16 school year, Koplinski obtained sufficient post-Master’s

education credits so that he moved from MA +30, Step 24 on the salary schedule, to MA+60,

Step 25, for the 2015-16 school year. The classes and seminars that Koplinski took to move from

MA+30 to MA +60 had to be approved by the School District.

       13.     According to the 2015-16 Salary Schedule, the salary for a teacher at MA+60,

Step 25 is $77,242. Because of Article 21.12, Koplinski’s salary for the 2015-16 school year was

$73,880.94.

       14.     If Koplinski’s years of teaching service and placement on the salary schedule

remained the same, but Koplinski were age 44 during the 2015-16 school year instead of age 50,

his salary would have been $77,242.

       15.     For the 2016-17 school year, Koplinski was at MA+60, Step 26 on the 2016-17

Salary Schedule. According to the 2016-27 Salary Schedule, the salary for a teacher at MA+60,

Step 26 is $79,945. Because of Article 21.12, Koplinski’s salary for the 2016-17 school year was

$78,313.80.

       16.     If Koplinski’s years of teaching service and placement on the salary schedule

remained the same, but Koplinski were age 44 during the 2016-17 school year instead of age 51,

his salary would have been $79,945.

       17.     Koplinski applied to teach summer school during the summer of 2018, but his

request was denied, because the stipend he would have received would have caused his total

reportable creditable earnings to exceed his prior year’s total reportable creditable earnings by

more than six percent.




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       18.     The effect of the practices complained of in paragraphs 8-17 above has been to

deprive Koplinski and a class of teachers over the age of 45 of equal employment opportunities

and otherwise adversely affect their status as employees, because of their age.

       19.     The unlawful employment practices complained of in paragraphs 8-17 above were

and are willful within the meaning of Section 7(b) of the ADEA, 29 U.S.C. § 626(b).

                                     PRAYER FOR RELIEF

       Wherefore, the Commission respectfully requests that this Court:

       A.      Grant a permanent injunction enjoining Defendant Urbana School District, its

officers, agents, servants, employees, attorneys, and all persons in active concert or participation

with it, from discriminating against employees with respect to their compensation because of

age.

       B.      Order Defendant Urbana School District to institute and carry out policies,

practices, and programs which provide equal employment opportunities for individuals 45 years

of age and older, and which eradicate the effects of its past and present unlawful employment

practices.

       C.      Grant a judgment requiring Urbana Defendant School District to pay appropriate

back wages in an amount to be determined at trial, an equal sum as liquidated damages, and

prejudgment interest to individuals whose wages are being unlawfully withheld because of the

acts complained of above, including but not limited to Charles Koplinski and a class of teachers

over the age of 45.

       D.      Order Defendant Urbana School District to make whole Charles Koplinski and a

class of teachers over the age of 45 by providing the affirmative relief necessary to eradicate the

effects of its unlawful practices.




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        E.      Grant such further relief as the Court deems necessary and proper in the public

interest.

        F.      Award the Commission its costs of this action.

                                    JURY TRIAL DEMAND

        The Commission requests a jury trial on all questions of fact raised by its complaint.


August 10, 2018                                 JAMES L. LEE
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